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                UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF TEXAS
                      SHERMAN DIVISION


   Timothy Jackson,

                           Plaintiff,
                                                   Case No. 4:21-cv-00033-ALM
   v.

   Laura Wright, et al.,

                           Defendants.


                        PLAINTIFF’S RESPONSE TO
                     DEFENDANTS’ MOTION TO DISMISS
        Plaintiff Timothy Jackson respectfully submits this brief in opposition to the de-
  fendants’ motion to dismiss (ECF No. 8).

                              FACTUAL BACKGROUND
  I.      This Case Is About State Censorship
        This is a case of state censorship. Yet the defendants’ motion asks the Court to
  decide what kinds of music and which music scholars really are or are not “racists” as
  a ground to dispose of this case. Defendants invite the Court to join their side in an
  academic dispute between City University of New York Professor Philip Ewell and

  plaintiff Professor Timothy Jackson, over an article Jackson published in the Journal
  of Schenkerian Studies (Journal). The State even thrusts before the Court evidence
  extraneous to the Complaint, a Ewell article. See Exhibit A, ECF No. 8-1.1




  1. Compare Williams v. Lakeview Loan Servicing LLC, No. 4:20-cv-01900, 2020 U.S.
     Dist. LEXIS 240472, at *5 (S.D. Tex. Dec. 22, 2020) (holding on 12(b)(6) mo-
     tion, defendant “isn’t entitled to introduce facts extraneous to the complaint at
     this procedural juncture”).


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      But this case is not about the merits of a scholarly debate. The Court should allow
  scholarship to run its course, as should any state institution, especially the University
  of North Texas (UNT), which holds itself out as an institution of higher learning.
      This case is really about UNT’s demotion and disciplining of Timothy Jackson

  for expressing viewpoints currently out of vogue in academia and UNT’s hostile take-
  over of the Journal in which Jackson dared to publish these viewpoints. UNT did so
  through Regents Laura Wright, Milton B. Lee, Melisa Denis, Mary Denny, Daniel
  Feehan, A.K. Mago, Carlos Munguia, and G. Brint Ryan (the Board defendants) and

  other state actors for whom the Board defendants are directly responsible.
      On July 24, 2020, under Jackson’s direction and with full participation of its ed-
  itorial board and staff (including Defamation defendants Ellen Bakulina, Andrew
  Chung, Benjamin Graf, and Diego Cubero who later renounced this very work as
  “racist”), Volume 12 of the Journal published a series of 15 articles in a symposium
  (Symposium). Complaint (ECF No. 1), ¶¶ 44–45. Defendants misconstrue the Sym-
  posium as publishing only articles “largely critical of Ewell’s views.” ECF No. 8 at 5.
  Defendants also aver that the Journal “did not invite Ewell to respond” — another
  objectively false statement that the Defamation defendants endorsed and UNT prop-
  agated. Id. at 10. At the time, Defamation Defendant Chung enthused over the Jour-
  nal’s Call for Papers, “I think it’s great that [the Journal] is looking to engage Ewell’s
  [Society for Music Theory] talk.” ECF No. 1-3 at JACKSON000073.
      In December 2019, the Journal issued a Call for Papers to the entire Society for
  Music Theory, including Professor Ewell, who refused to respond.2 Complaint, ¶ 44;
  see also ECF No. 1-11. The Journal published all the pro-Ewell papers it received,


  2. Professor Ewell later announced, “I won’t read them [the Symposium papers] be-
     cause I will not participate in my own dehumanization.” ECF No. 1-23 at
     JACKSON000283. To Professor Ewell and his devotees, dissent from race-based
     orthodoxy is “dehumanizing.” UNT swiftly endorsed this stultifying approach to
     protected speech.


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  even over the objections of its Student Editor Levi Walls, who considered Ewell’s
  viewpoints “naïve.” ECF No. 1-23 at JACKSON000287.
        Of course, the Journal also published articles critical of Ewell’s assault on classical
  music as “systematic racism,” and authors defended the Journal’s namesake, the 19th-

  century/early 20th-century Jewish music scholar Heinrich Schenker. See ECF No. 1-
  4. These anti-Ewell authors included Timothy Jackson. Id. at JACKSON000154.

  II.      The Defamation of Timothy Jackson
        No sooner did the Symposium appear in print, however, than Rachel Gain, Ellen
  Bakulina, Andrew Chung, Diego Cubero, Steven Friedson, Rebecca Dowd Geoffroy-
  Schwinden, Benjamin Graf, Frank Heidlberger, Bernardo Illari, Justin Lavacek, Peter
  Mondelli, Margaret Notley, April L. Prince, Cathy Ragland, Gillian Robertson, Hen-
  drik Schulze, Vivek Virani, and Brian F. Wright (the Defamation defendants) circu-

  lated open letters and endorsed petitions to get Timothy Jackson fired, the Journal
  eliminated, and the Center for Schenkerian Studies, which Jackson directs, canceled.
  ECF No. 1-5 at JACKSON000226 – JACKSON000226.
        Defendants aver that the Defamation defendants merely expressed “Constitution-
  ally protected expressions of opinion.” ECF No. 8 at 23-27. The State takes the po-
  sition that Defendants get constitutionally protected speech, but Timothy Jackson

  does not. Defendants neglect to direct the Court to what they actually said. All Def-
  amation defendants stated, either directly or by express endorsement: “Specifically,
  the actions of Dr. Jackson — both past and present — are particularly racist and unac-
  ceptable.” ECF No. 1-5 at JACKSON000227. Yet Defendants identify no “actions.”
  They identify only Timothy Jackson’s protected speech and publications, which ap-
  parently hurt their feelings.
        This proves the point that the Defamation defendants made objectively refutable
  statements of fact, which they cannot substantiate, and which they knew were false




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  when made. Furthermore, the distinction between speech — even as advocacy — and
  action, and the distinction between speech and the advocacy of action, is bedrock in
  First Amendment jurisprudence. The Defamation defendants now propose to collapse
  these distinctions and ask the Court to count Timothy Jackson’s protected speech as

  “action.” The radical left, as the Defendants appear to fancy themselves, used to think
  these distinctions protected them.3 But it cannot be disputed that false statements
  about actions, subject to objective refutation, are actionable in defamation.

  III.   UNT’s Demotion and Disciplining of Timothy Jackson
      So the Defamation defendants clamored for state censorship, and UNT readily
  responded. Ironically, UNT has promulgated policies that nominally protect academic
  freedom and free speech. These were disregarded. Rather than enforce them, UNT
  immediately placed its heavy thumb on the scales of scholarly debate to punish Tim-

  othy Jackson for his unpopular views. Already on July 31, 2020, days after the Sym-
  posium appeared, UNT Dean John Richmond announced an investigation of Timo-
  thy Jackson and the Journal as part of a crusade to “combat[] racism on campus and
  across all academic disciplines.” ECF No. 1-15.
      Timothy Jackson objected to this retaliation by submitting grievances under the
  established policies and rules of UNT. ECF No. 1-16. UNT repeatedly ignored Pro-

  fessor Jackson’s grievances. ECF NO. 1-17. Instead of enforcing its own policies guar-
  anteeing protected speech, and just one week after Dean Richmond announced
  UNT’s “anti-racist” crusade, Defendant Provost Jennifer Cowley announced a so-
  called “Ad Hoc Panel” (“Panel”). ECF No. 1-5 at JACKSON000211. Its very name
  betrayed its operation outside of UNT’s ordinary rules, policies, and procedures. Id.


  3. See, e.g., Yates v. United States, 354 U.S. 298, 340 (1957) (reversing convictions of
     Communist Party members for advocacy, with Justice Black dissenting because
     the decision did not go far enough: “First Amendment forbids [the state] to pun-
     ish people for talking about public affairs, whether or not such discussion incites
     to action, legal or illegal”).


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  Provost Cowley refused to identify what policy, standards, or rules of UNT the Panel
  purported to apply. Id. Provost Cowley convened the Panel solely to repress Timothy
  Jackson’s speech and punish him and the Journal for publishing the Symposium.
      Provost Cowley’s so-called “investigation” was a pretext from the start. One in-

  dication of her pretextual approach was the announcement, from one side of her
  mouth, that the “university is investigating neither you nor the Journal of Schenkerian
  Studies.” ECF No. 1-17. The same letter then announced that UNT would “look
  into these circumstances [of the publication].” Id. Thus, UNT would investigate Pro-

  fessor Jackson and the Journal but would deny doing so.
      The first casualty of UNT’s open repression of free expression was graduate stu-
  dent editor Levi Walls. Id., ¶¶ 28–98. The Symposium owed much to his initiative
  and tireless work. Id., ¶¶ 40–47. Between Professor Ewell’s talk in November 2019
  and UNT’s full-throated embrace of the Twitter mob in the name of “combating
  racism,” Mr. Walls had criticized Professor Ewell, praised the anti-Ewell contributions
  to Journal, and expressed his love of the classical music tradition excoriated by Ewell
  and his acolytes as white supremacy. This is demonstrated in the following statements
  by Mr. Walls:

         • “[Ewell] suggested that analysis that utilizes levels of hierarchy is
           inherently racist, which strikes me as naive.” (November 15,
           2019.) ECF NO. -3 at JACKSON000005.

         • “… the fact that Ewell and I obviously share political views, I find
           some of his points to be extremely suspect.” (November 16,
           2019.) ECF No. 1-8 at JACKSON000240.

         • “[Ewell] paper’s willful ignorance of Schenker’s Jewish identity is
           indeed troubling. That seems to mark it as implicitly antisemitic,
           at the very least.” (November 18, 2019.) ECF No. 1-10.

         • “…it is possible to address biases in Schenker studies (and aca-
           demia in general) and advocate for increased transparency with-
           out demonizing an entire methodology (especially one with




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            strong Jewish roots). Ewell’s talk certainly failed in that regard.”
            (November 18, 2019.) Id.

        • “I agree that a response in the JSS would be very appropriate.”
          (November 19, 2019.) ECF No. 1-2 at JACKSON000009-10.

        • “It goes without saying that there are good ways and bad ways
          for these responses [in the Symposium] to be framed, and it will
          be important for us to screen them for tone and misinformation
          (lest we allow the JSS to fall into some of the same pitfalls that
          Ewell himself fell into).” (January 9, 2020.) ECF No. 1-12.

        • To emphatically and still unrepentantly anti-Ewell author Dr.
          Barry Wiener: “Hi Barry, Congratulations! We like your response
          and would be happy to include it in the upcoming JSS, with the
          possibility of some revisions.” (February 5, 2020.) ECF No. 1-3
          at JACKSON000098.

        • “Dr. Graf and I were wondering what your thoughts were con-
          cerning the submissions [that] are (at least) implicitly anti-Schen-
          kerian [i.e. pro-Ewell]. Despite disagreeing with much of what
          they have to say Dr. Graf and I think it is important to publish
          these responses along with the others ...” (emphasis added, Feb-
          ruary 13, 2020.) ECF No. 1-2 at JACKSON000058.

        • “Would you mind signing my degree plan? Just the ‘major pro-
          fessor’ line near the bottom of the front page” (asking Jackson to
          be his dissertation advisor). (May 19, 2020.) ECF No. 1-18.

        • “. . . as I said, it’s very important to continue studying Beethoven
          [emphatically condemned by Professor Ewell as perpetuating
          white supremacy].” (July 23, 2020.) ECF No. 1-19.

  (These anti-Ewell statements made by Mr. Walls in the internal correspondence of the
  Journal were known to UNT and to the Ad Hoc Panel. See ECF No. 1-2, 1-3.)
      As soon as it became clear that UNT would actively repress free expression, how-
  ever, Mr. Walls immediately turned turtle and confessed “how deeply sorry I am for
  my involvement in the journal” (on July 27, 2020). ECF No. 1-6. Walls denounced
  Timothy Jackson as “woefully ignorant about politically correct discourse and race
  relations”; he condemned Timothy Jackson’s piece in the Symposium as “disgusting




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  and harmful rhetoric”; and he suddenly professed “essential agree[ment]” with Pro-
  fessor Ewell. Id. Walls even claimed to be a “whistleblower,” who had allegedly run
  to Division Chair Benjamin Brand to expose Timothy Jackson for forcing him to
  publish allegedly “disgusting” viewpoints against his will. Id.

      Mr. Walls’ contemporary editorial correspondence belied his prostrate cowering
  before the Twitter mob and UNT’s faculty and graduate students. ECF No. 1-1, ¶ 17,
  67. But facts did not matter in UNT’s “investigation.” The Panel Report even repro-
  duced new defamatory allegations, in defiance of the evidence, knowing that they

  were false. In particular, the Panel condemned Timothy Jackson (alone among the
  editorial staff) for supposedly threatening Mr. Walls like a gangster. Exhibit D at
  JACKSON000216. The Report foregrounds a story that Timothy Jackson somehow
  forced Mr. Walls to accept manuscripts against his will and had even “taken [Mr.
  Walls] into Dr. Jackson’s car, where Dr. Jackson told him that it was not his ‘job to
  censor people’ and . . . told [Mr. Walls] not to do it again.” ECF No. 1-5 at
  JACKSON000216.
      Contemporary documents provided to the Ad Hoc Panel conclusively demon-
  strate this and many other statements in Mr. Walls’ apologia to be false. ECF No. 1-
  1, ¶ 68-90. By way of example, the only “censorship” discussed by Mr. Walls within
  Journal correspondence was the express commitment not to censor pro-Ewell authors,
  with whom Mr. Walls openly disagreed. ECF No. 1-1, ¶¶ 74–76, ECF No. 1-2 at
  JACKSON000058.
      The Panel published its so-called “Report” to UNT’s website on November 25,
  2020. ECF No. 1-5. Another example of UNT’s pretextual “investigation” was Prov-
  ost Cowley’s notification to Timothy Jackson (and he alone was singled out) by letter
  of November 30, 2020 that he was required to submit a “response” by December 18,
  2020. ECF No. 1-21. Had the so-called “investigation” been focused on the Journal
  rather than on Timothy Jackson, UNT would have addressed the entire editorial staff.


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  But the investigation’s true purpose was to condemn, punish, and defame Timothy
  Jackson for his impermissible views.
      Events soon showed that UNT was also completely uninterested in Jackson’s Re-
  sponse, another pretextual aspect of the so-called “investigation.” The adverse conse-

  quences for Timothy Jackson were immediate. ECF No. 1-22. Before Provost Cow-
  ley’s deadline of December 18, 2020, without waiting for Timothy Jackson to defend
  himself, and with actual knowledge that the Report was based upon false and defam-
  atory statements, Division Chair Benjamin Brand called Professor Jackson to a meet-

  ing to fire him from the Journal. Id. UNT also eliminated Jackson’s, the Journal’s,
  and the Center’s resources. Id.; Affidavit of Timothy Jackson in Support of Opposi-
  tion (Second Affidavit), ¶¶ 8–9. UNT has now executed on Dr. Brand’s promise.
  Affidavit of Timothy Jackson in Support of His Opposition to Defendants’ Motion
  to Dismiss (2d Jackson Aff.), ¶¶ 6, Exhibits A and B.
      In response to these defamatory attacks, Timothy Jackson asked that UNT make
  public the internal correspondence of the Journal, including Mr. Walls’s correspond-
  ence. ECF No. 1-1, ¶ 35. Yet on October 14, 2020, Attorney Reynaldo Stowers of
  UNT’s General Counsel’s Office forbade this: “Dr. Jackson is not authorized to dis-
  close information from any UNT student’s education record.” ECF No. 1-7. Mr.
  Walls, and subsequently UNT through its Report, put the substance of Mr. Walls’s
  student records at issue by selectively disclosing them to the public — while withhold-
  ing evidence clearly refuting Mr. Walls’s demonstrably false claims. ECF No. 1-1,
  ¶¶ 36–38. Thus, not only did UNT retaliate against Timothy Jackson for protected
  speech; it also muzzled him to prevent him from speaking publicly to defend his rep-
  utation and the Journal.
      UNT’s adverse actions have been devastating. Although he has not been fired,
  UNT removed him from the Journal and staged a hostile takeover of the Journal.
  Second Affidavit, ¶ 2. The Journal and Center are Professor Jackson’s life’s work, and


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  UNT has indeed fired him from this job. ECF No. 1-22; 2d Jackson Affidavit, ¶¶ 2–
  7. Until UNT’s assault on academic freedom and protected speech, UNT had praised
  Jackson, the Center, and the Journal, whose work had even attracted a Grammy nom-
  ination. 2d Jackson Aff., ¶ 11.

      UNT has also defunded the Journal and Center and now blocks the Journal’s
  further publication until a hostile takeover can be completed. Id., ¶ 12. The resources
  directed to the Journal not only benefited UNT and the larger community of Texas,
  they were also direct benefits to Timothy Jackson and his work. Id. The graduate

  student assistant formally assigned to the Journal and Center has been removed. Id.
      In the few short months following UNT’s assault on protected speech and aca-
  demic freedom, Timothy Jackson’s reputation suffered irreparably. UNT’s actions
  have made Timothy Jackson a pariah among graduate students. Id., ¶ 9. Formerly he
  had been a leader in graduate student training at UNT, praised as such, and placed
  students in enviable jobs all over the world. Id. Now, even students who wish to work
  with Professor Jackson are afraid because of UNT’s overt hostility toward anyone who
  shares or even appears to associate with Professor Jackson’s suddenly impermissible
  viewpoints. Id.
      The targeted, intentional ruination of Timothy Jackson’s career by UNT has also
  made it harder for him to gain access to reputable publications which formally ac-
  cepted his work. Id., ¶ 14. His advancement and evaluation as a professor depend
  upon the assessment of the Center and Journal among his faculty peers, almost all of
  whom have now signed defamatory statements calling for the suppression of academic
  freedom, for Jackson to be fired, for the Journal to be hijacked, and the Center to be
  canceled. Id., ¶ 13.
      UNT has also retaliated by continued refusal to follow its own policies and pro-
  cedures, which nominally protect and guarantee academic freedom and free speech.
  Id., ¶ 15. And while UNT has reproduced defamatory materials in its so-called “Ad


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   Hoc Panel” report of November 25, 2020 — which UNT immediately published to
   his website — UNT still muzzles Timothy Jackson and refuses to publish his Response,
   depriving him of any avenue to defend himself except before this Court. Id., ¶ 7.

                                      ARGUMENT
        The defendants seek dismissal on five separate grounds, but none of their argu-
   ments have merit. We will address each of the defendants’ arguments in turn.

   I.     Professor Jackson Has Indisputably Alleged Article III
          Standing
        A plaintiff needs only to allege and not prove Article III standing at the motion-

   to-dismiss stage. See Lujan v. Defenders of Wildlife, 504 U.S. 555, 561 (1992). The
   defendants do not dispute Jackson’s standing to pursue his defamation claims, but
   they say that Professor Jackson lacks standing to seek prospective relief against the
   Board defendants. See Mot. to Dismiss (ECF No. 8) at 13–16. The defendants’ argu-
   ments are meritless. The university has banned Professor Jackson from involvement
   in the Journal of Schenkerian Studies;4 that undeniably establishes present and future
   “injury” that can be redressed with prospective relief directed at the Board of Regents.

          A.      Professor Jackson Has Alleged Injury In Fact That Gives Him
                  Standing To Sue The Board Defendants
        The defendants correctly observe that Professor Jackson is seeking only prospec-
   tive relief and not damages from the board defendants. See Mot. to Dismiss (ECF No.
   8) at 13–16. The defendants are also correct in asserting that Jackson must therefore
   allege a continuing or future injury to establish Article III standing. See id. at 14
   (quoting Stringer v. Whitley, 942 F.3d 715, 720 (5th Cir. 2019)).
        Yet Professor Jackson has done exactly that by alleging that the university has
   banned him from any future involvement in the Journal of Schenkerian Studies. See




   4. See Complaint (ECF No. 1) at ¶¶ 60–61.


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   Complaint (ECF No. 1) at ¶¶ 60–61. Professor Jackson has also alleged that the uni-
   versity will “eliminate resources previously provided to the Journal and Center for
   Shenkerian Studies.” Id. at ¶ 60; see also Affidavit of Timothy Jackson at ¶¶ 6–16.
   Professor Jackson’s exclusion from the Journal is an ongoing injury that is inflicting

   immediate harm — and it is certain to continue inflicting harm on Professor Jackson
   into the future. The same is true of the university’s removal of support for the Journal
   and the center that Professor Jackson operates. These are present-day and future in-
   juries that confer standing to seek prospective relief. See Stringer, 942 F.3d at 720

   (requiring plaintiffs seeking prospective relief to allege “a continuing injury or threat-
   ened future injury.”).
       The defendants claim that Professor Jackson is alleging nothing more than past
   injury because their decisions to block Professor Jackson from involvement in the Jour-
   nal were made in the past. See Mot. to Dismiss (ECF No. 8) at 14. But those past
   decisions continue to inflict present and future injury on Professor Jackson, as he
   remains unable to participate in the Journal both now and into the future. That the
   decisions to exclude Professor Jackson were made in the past does not mean that the
   injuries resulting from those decisions are exclusively in the past. The situation is no
   different from a President who decides to exclude travelers from designated foreign
   countries from entering the United States. The affected individuals still have standing
   to challenge the implementation of that past decision and seek prospective relief
   against its enforcement, even though they are challenging the legality of a past deci-
   sion. See Trump v. Hawaii, 138 S. Ct. 2392, 2415–16 (2018).
       The defendants also claim that Professor Jackson “does not allege facts to show
   any ongoing or future injury.” Mot. to Dismiss (ECF No. 8) at 14–15. But that is
   transparently false. Paragraph 60 of the complaint states:

          On December 11, 2020 — more than a week before the deadline that
          the provost had imposed — Dr. Benjamin Brand (Professor Jackson’s



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          department chair) informed Professor Jackson that he would be re-
          moved from the Journal and that the university would eliminate re-
          sources previously provided to the Journal and Center for Shenkerian
          Studies.
   Complaint (ECF No. 1) at ¶ 60. Professor Jackson’s “remov[al] from the Journal”
   and the university’s intent to “eliminate resources previously provided to the Journal
   and Center for Shenkerian Studies” describe ongoing and future injuries. Professor
   Jackson’s banishment from the Journal will continue into the future unless it is en-
   joined by this Court, and the university will eliminate future resources for the Journal
   and Center for Shenkerian Studies absent judicial intervention. All of these allegations
   must be assumed true at this stage of the litigation, and they indisputably describe
   continuing and future injuries that confer standing to seek prospective relief. See Man-
   hattan Community Access Corp. v. Halleck, 139 S. Ct. 1921, 1927 (2019) (“Because
   this case comes to us on a motion to dismiss, we accept the allegations in the com-
   plaint as true.”).

          B.      Professor Jackson Has Alleged That These Injuries Are “Fairly
                  Traceable” To The Board Defendants
       The defendants also deny that Professor Jackson’s injuries are traceable to the
   Board defendants. See Mot. to Dismiss (ECF No. 8) at 15–16. But at the motion-to-
   dismiss stage, plaintiff needs only to allege (and not prove) that his injuries are “fairly
   traceable” to a defendant’s conduct. See, e.g., Lexmark Int’l, Inc. v. Static Control
   Components, Inc., 572 U.S. 118, 134 n.6 (2014) (“Proximate causation is not a re-
   quirement of Article III standing, which requires only that the plaintiff’s injury be
   fairly traceable to the defendant’s conduct.” (emphasis added)). Professor Jackson’s
   allegations easily meet this requirement.

       Professor Jackson has alleged that his department chair, Dr. Benjamin Brand, in-
   formed him that he would be removed from the Journal and that the university would
   eliminate resources previously provided to the Journal and Center for Shenkerian




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   Studies. See Complaint (ECF No. 1) at ¶ 60. This conduct is “fairly traceable” to the
   Board of Regents, which serves as the governing body for the University of North
   Texas System, and is responsible for the decisions and actions of university officials, as
   well as its failure to establish and enforce policies sufficient to protect Professor Jack-

   son’s academic freedom. See https://www.untsystem.edu/board-regents (“The
   Board of Regents [is] the governing body for the University of North Texas System”).
       The defendants complain that Professor Jackson “pleads no facts . . . to show that
   the Board Defendants are involved with the Journal or the Panel’s activities.” Mot. to

   Dismiss (ECF No. 8) at 15. But no such allegations are necessary. Professor Jackson
   does not need to allege that the members of the Board of Regents directly caused his
   injuries; he needs only to allege that his injuries are “fairly traceable” to them. See
   Lexmark, 572 U.S. at 134 n.6. A university’s affirmative-action policies, for example,
   are “fairly traceable” to its Board of Regents, even though the regents are not person-
   ally involved in admissions decisions or in the policies established by the admissions
   office. See, e.g., Fisher v. University of Texas at Austin, 758 F.3d 633, 637 (5th Cir.
   2014). The traceability element is satisfied by the brute fact of the Board of Regents
   governing authority over the university; it does not require any additional showing of
   personal involvement on the part of the individual regents.

          C.      Professor Jackson’s Ongoing And Future Injuries Are Redressable
       The Board of Regents’ governing authority over the university is all that is needed
   to establish redressability. An injunction that directs the Board of Regents to halt and
   undo the retaliatory actions taken against Professor Jackson will redress the alleged
   injuries, because the Board of Regents can countermand the decisions of Dr. Brand
   and other university officials. See Larson v. Valente, 456 U.S. 228, 244, n.15 (1982)
   (“[A] plaintiff satisfies the redressability requirement when he shows that a favorable
   decision will relieve a discrete injury to himself.”). The defendants do not even try to




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   argue that the Board of Regents is powerless to restore Professor Jackson to his role
   on the Journal, or that the Board of Regents is impotent to prevent university officials
   from taking future retaliatory actions against Professor Jackson.

   II.     Professor Jackson’s Claims Against The Board Defendants
           Fall Within The Ex Parte Young Exception To Sovereign
           Immunity
         The defendants’ sovereign-immunity objections are meritless because Professor
   Jackson is seeking prospective relief to enjoin an ongoing violation of his First Amend-
   ment rights. See Complaint (ECF No. 1) at ¶ 76(ii) (asking the Court to “enjoin the
   members of the Board of Regents, along with their employees and subordinates, from
   taking any adverse action against Professor Jackson in response to the publication of
   the symposium or his criticisms of Professor Ewell”). That falls squarely within the Ex
   parte Young exception to sovereign immunity. See Verizon Maryland, Inc. v. Public
   Service Comm’n of Maryland, 535 U.S. 635, 645 (2002) (“In determining whether
   the doctrine of Ex parte Young avoids an Eleventh Amendment bar to suit, a court
   need only conduct a ‘straightforward inquiry into whether [the] complaint alleges an
   ongoing violation of federal law and seeks relief properly characterized as prospec-
   tive.’” (citation omitted)); Raj v. Louisiana State University, 714 F.3d 322, 328 (5th
   Cir. 2013) (“[T]he Eleventh Amendment does not bar suits for injunctive or declar-
   atory relief against individual state officials acting in violation of federal law.”).
         The defendants try to escape Ex parte Young by denying that they are “proper
   defendants.” Mot. to Dismiss (ECF No. 8) at 17. But an Ex parte Young lawsuit re-
   quires only that a defendant have “some connection”5 with the enforcement of the


   5. See Ex parte Young, 209 U.S. 123, 157 (1908) (“[I]t is plain that such officer must
      have some connection with the enforcement of the act, or else it is merely making
      him a party as a representative of the state, and thereby attempting to make the
      state a party. . . . The fact that the state officer, by virtue of his office, has some
      connection with the enforcement of the act, is the important and material fact . . . .”
      (emphasis added)).


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   challenged policy or practice, and Board of Regents easily meets this test. The defend-
   ants complain that Professor Jackson “pleads no facts to show that the Board Defend-
   ants have any role with the Journal or the Panel’s review and recommendation, nor
   whether campus officials act on those recommendations.” Id. at 17. But Professor

   Jackson is not required to make any “showing” of this sort. The Board of Regents, as
   the governing authority of the university, will by definition have “some connection”
   to the retaliatory actions that Professor Jackson has alleged, because the Board of
   Regents has the authority to oversee and countermand the decisions of university of-

   ficials. Again, the situation is no different from a lawsuit challenging a public univer-
   sity’s affirmative-action programs, which is properly brought against the individual
   regents even when the challenged policies are made and implemented by lower-level
   university officials. See Fisher, 758 F.3d 633. The defendants do not even acknowledge
   the “some connection” test from Ex parte Young, let alone explain how the Board
   defendants fail to satisfy that standard.
       The defendants also claim that Professor Jackson has failed to allege an “ongoing
   violation” of federal law, and they insist that he “complains about past events only.”
   Mot. to Dismiss (ECF No. 8) at 17. That is flatly wrong for the reasons provided in
   Part I, supra. Professor Jackson’s banishment from the Journal of Schenkerian Studies
   is an ongoing injury that will continue absent relief from this Court. See supra at 10–
   12. The initial decision to exclude Professor Jackson from the Journal was made in the
   past, but the implementation of that decision will continue indefinitely into the future
   unless the university changes its stance. That is all that Professor Jackson needs to
   allege an “ongoing” violation of federal law.
       The defendants’ claim that Professor Jackson is seeking declaratory relief only
   with respect to “past conduct” is equally off base. Mot. to Dismiss (ECF No. 8) at
   18. Professor Jackson is seeking to prevent the university from implementing its deci-
   sion to exclude him from the Journal, which seeks relief against present-day and future


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   conduct. That is subsumed in Professor Jackson’s request to enjoin the Board defend-
   ants (and their employees and subordinates) from “taking any adverse action against
   Professor Jackson in response to the publication of the symposium or his criticisms of
   Professor Ewell.” Complaint (ECF No. 1) at ¶ 76(ii). And it is entirely proper for

   Professor Jackson to seek a prohibition against all “adverse actions” taken in response
   to his criticisms of Philip Ewell; otherwise the university and its officials could evade
   an injunction from this Court by retaliating against Professor Jackson in other ways.
   The defendants’ citation of Spec’s Family Partners, Ltd. v. Nettles, 972 F.3d 671 (5th

   Cir. 2020), has no bearing on this case, because there was no allegation of future
   injury in Spec’s. See id. at 681 (“Spec’s does not allege that TABC or its officials are
   currently engaged in any of those behaviors or that any such actions are imminent. It
   is undisputed that the investigation and SOAH proceedings forming the basis of the
   allegations in this case are completed. The injunctive relief sought focuses on past
   behavior but does not allege an ‘ongoing violation of federal law.’”). Professor Jack-
   son, by contrast, has alleged that the university is currently excluding him from the
   Journal on account of his past criticisms of Philip Ewell, and that is all that is needed
   to allege an ongoing violation of federal law.
       Finally, the defendants are wrong to accuse Professor Jackson of seeking an in-
   junction that would “require the Board Defendants to take affirmative action on dis-
   cretionary matters.” Mot. to Dismiss (ECF No. 8) at 18 (citing Richardson v. Texas
   Secretary of State, 978 F.3d 220 (5th Cir. 2020). Professor Jackson is merely asking
   for an injunction that will prevent the university from taking “adverse actions” against
   him in response to his criticisms of Philip Ewell; he is not asking or even suggesting
   that the court usurp discretionary functions that have been vested in the Board de-
   fendants by statute. See Richardson, 978 F.3d at 243 (holding that Ex parte Young is
   inapplicable when “[s]ection 31.005 grants the Secretary discretion to take enforce-
   ment actions” and the plaintiff’s lawsuit sought an injunction to compel enforcement


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   action despite the statutory grant of discretion). And the defendants do not identify
   any statute that purports to vest “discretionary” tasks in the Board defendants, nor
   do they explain how Professor Jackson’s lawsuit might countermand that statutorily
   conferred discretion.

   III.     Professor Jackson Has Alleged That The Board
            Defendants Have Violated His First Amendment Rights
          The defendants try to defeat Professor Jackson’s First Amendment claim by deny-
   ing that he suffered “adverse employment action,”6 but their efforts are unavailing.

   Professor Jackson’s banishment from the Journal of Shenkerian Studies indisputably
   qualifies as a “demotion” and alleges a retaliation claim under the precedent of this
   Court. See Pierce v. Texas Dep’t of Criminal Justice, Institutional Div., 37 F.3d 1146,
   1149 (5th Cir. 1994) (“Adverse employment actions are discharges, demotions, refus-
   als to hire, refusals to promote, and reprimands.” (emphasis added)). And the Ad Hoc
   Panel’s report qualifies as a “reprimand,” which likewise meets the definition of an
   “adverse employment action.” Id; see also Complaint (ECF No. 1) at ¶ 59 (alleging
   that the Ad Hoc Panel’s report “declared that its members ‘do not find that the stand-
   ards of best practice in scholarly publication were observed in the production of Vol-
   ume 12 of the [Journal of Schenkerian Studies].’”).
          It is hard for us to fathom how the defendants could believe that Professor Jack-
   son has failed even to allege an adverse employment action. The defendants cite
   Breaux v. City of Garland, 205 F.3d 150 (5th Cir. 2000), but the defendants in
   Breaux had rescinded the reprimands that they had previously imposed on the plain-
   tiffs — a crucial fact about Breaux that the defendants never mention. See id. at 158
   (“However, this court recognizes that a rescinded reprimand does not rise to the level
   of an adverse employment action. . . . After becoming Chief of Police, Barnett “non-
   sustained” the charges against Breaux and Ambrogio. . . . Neither Plaintiff has been

   6. See Mot. to Dismiss (ECF No. 8) at 19–21.


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   discharged from the Garland Police Department. Neither Plaintiff has been demoted,
   denied a promotion, suffered a reduction in pay, or lost seniority as a result of his
   speech.”). Breaux is nothing at all like this case, where the reprimands from the Ad
   Hoc Panel remain in effect, and where Professor Jackson remains unable to manage

   and participate in the Journal of Schenkerian Studies on account of the university’s
   actions.
       More importantly, Professor Jackson has clearly and indisputably alleged a viola-
   tion of his constitutional rights under the governing standard for First Amendment

   retaliation claims.

          A.      The Pickering–Connick Standard Applies
       The State’s Motion avoids the standard for First Amendment retaliation that the
   Supreme Court and Fifth Circuit applies to free speech in academic scholarship. In-

   stead, the State characterizes Jackson’s censorship as a customary case of workplace
   speech. This ignores the central facts: namely, UNT’s hostile takeover of an academic
   journal and its punishment of Timothy Jackson for daring to oppose a specious, blan-
   ket condemnation of classical music and music theory as “white supremacy.”
       The Supreme Court developed its customary workplace speech doctrine for pub-
   lic-sector employees in Garcetti v. Ceballos, 547 U.S. 410 (2006). Garcetti expanded

   state authority over workplace speech “when public employees make statements pur-
   suant to their official duties.” Id. at 421. Yet the Court clearly carved out the kind of
   academic scholarship at issue here. See e.g., Meriwether v. Trustees of Shawnee State
   University, No. 20-3289, --- F.3d ---, 2021 WL 1149377, *6 (6th Cir. Mar. 26,
   2021) (finding reversible error where District Court rejected Garcetti’s carve out for
   academic teaching and scholarship, recognizing “expansive freedoms of speech and
   thought associated with the university environment” (quoting Grutter v. Bollinger,
   539 U.S. 306, 329 (2003)).




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       The carveout applies to professors such as Jackson because their core “official
   duty” is to speak and teach on matters of public concern. Garcetti therefore distin-
   guished scholarly publication in particular as a category of workplace speech that “im-
   plicates additional constitutional interests that are not fully accounted for by this

   Court’s customary employee-speech jurisprudence.” Garcetti 547 U.S. at 425. See also
   Buchanan v. Alexander, 919 F.3d 847, 852–53 (5th Cir. 2019), cert. denied, 140 S.
   Ct. 432 (2019) (holding “academic freedom is a special concern of the First Amend-
   ment” and declining to apply Garcetti workplace speech doctrine); Demers v. Austin,

   746 F.3d 402, 411 (9th Cir. 2014) (holding, “if applied to teaching and academic
   writing, Garcetti would directly conflict with the important First Amendment values
   previously articulated by the Supreme Court”); Adams v. Trs. of the Univ. of N.C.-
   Wilmington, 640 F.3d 550, 562 (4th Cir. 2011) (“Garcetti would not apply in the
   academic context of a public university”); Meriwether, 2021 WL 1149377, *7 (join-
   ing “three of our sister circuits: the Fourth, Fifth, and Ninth” in declining to apply
   Garcetti to academic speech).
       Garcetti also left the Supreme Court’s previous academic-speech cases undis-
   turbed. See, e.g., Pickering v. Bd. of Ed., 391 US 563, 572 (1968) (holding, “[o]n . . .
   question [of] free and open debate . . . it is essential that [teachers] be able to speak
   out freely on such questions without fear of retaliatory dismissal”); Keyishian v. Board
   of Regents of Univ. of State of N. Y., 385 U.S. 589, 603 (1967) (“Our Nation is deeply
   committed to safeguarding academic freedom, which is of transcendent value to all of
   us and not merely to the teachers concerned . . . First Amendment . . . does not tol-
   erate laws that cast a pall of orthodoxy over the classroom); Sweezy v. New Hampshire,
   354 U.S. 234, 250 (1957) (a governmental enquiry into the contents of a scholar’s
   lectures at a state university “unquestionably was an invasion of [his] liberties in the
   areas of academic freedom and political expression--areas in which government should
   be extremely reticent to tread”).


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       Sidestepping these clear and binding precedents, Defendants’ Motion reduces
   state censorship of a scholarly publication to administrative trivia. Defendants attempt
   to distinguish the hostile takeover of the Journal from the kinds of “adverse employ-
   ment actions” necessary for customary workplace speech cases, such as firing an em-

   ployee. Mot. to Dismiss (ECF No. 8) at 19–21. Cf. Oller v. Roussel, 609 F. App’x 770
   (5th Cir. 2015) (professor claimed First Amendment retaliation over administrative
   minutia of teaching assignments, textbook selection, discretionary and competitive
   endowment awards, and other matters not at issue here). Defendants aver that, so

   long as UNT does not fire Jackson, the university can restrict his speech and do what
   it wants with the Journal. See Mot. to Dismiss (ECF No. 8) at 21.
       This is not the law. The Fifth Circuit made clear that it is not Garcetti or Defend-
   ants’ customary employee-speech cases that apply here, but the “the well-known Pick-
   ering-Connick balancing test.” Id. at 853 (citing Pickering and Connick v. Myers, 461
   U.S. 138 (1983)). Under the Pickering–Connick test, “[t]o establish a § 1983 claim
   for violation of the First Amendment right to free speech, [Timothy Jackson] must
   show that [1] [he] w[as] disciplined or fired for speech [2] that is a matter of public
   concern, and [3] [his] interest in the speech outweighed the university’s interest in
   regulating the speech.” Buchanan, 919 F.3d at 853 (citing Connick v. Myers, 461 U.S.
   at 147-50).

                 1.     Timothy Jackson and the Journal Spoke on a Matter of
                        Public Concern
       The threshold question is whether “a matter of public concern” is at issue. Id.
   This is undisputed here. See Mot. to Dismiss (ECF No. 8) at 6–8. The State merely
   argues that the Defamation Defendants enjoy protected speech on matters of public




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   concern,7 whereas UNT should be allowed to censor the Journal and Timothy Jack-
   son's speech on the same subject matter.

                  2.    The UNT Disciplined and Demoted Jackson
       The second step of the Pickering-Connick test is to determine whether UNT has
   disciplined Jackson or otherwise stifled his protected speech. The “quantum of retal-
   iation necessary to support [a] §1983 claim” need be no more than “adverse acts that
   ‘would chill or silence a person of ordinary firmness from future First Amendment
   activities.’” Morris v. Powell, 449 F.3d 682, 687 (5th Cir. 2006) (quoting Crawford-
   El v. Britton, 320 U.S. App. D.C. 150, 93 F.3d 813, 826 (D.C. Cir. [*686] 1996)
   (en banc), vacated on other grounds, 523 U.S. 574, 118 S. Ct. 1584, 140 L. Ed. 2d
   759 (1998)).
       This too is easily shown. For example, when Defendants made clear their inten-

   tion to censor the Journal and discipline anyone who, like Jackson, dared to express
   anti-Ewell viewpoints, the student editor Mr. Walls immediately recanted his work,
   declared himself Ewell’s acolyte, denounced Jackson, and issued a public apologia be-
   cause, in his words, “I don’t want my career to be ruined.” See Complaint Ex. 6 (ECF
   No. 1-6) at 1–20. Furthermore, even a government investigation, especially a pre-
   textual one such as UNT’s “Ad Hoc Panel,” is “capable of encroaching upon the con-

   stitutional liberties of individuals” and has an “inhibiting effect in the flow of demo-
   cratic expression.” Sweezy v. New Hampshire, 354 U.S. 234, 245, 248 (1957). The
   mere “threat of invoking legal sanctions and other means of coercion, persuasion, and




   7. It is also undisputed that defamation is not protected by the First Amendment, so
      it is unclear why the State advances this argument. Nor is Timothy Jackson a state
      actor. See, e.g., Matal v. Tam, 137 S. Ct. 1744, 1765 (2017) (Kennedy concurring,
      “Those few categories of speech that the government can regulate or punish — for
      instance, fraud, defamation, or incitement — are well established within our con-
      stitutional tradition”).


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   intimidation” can itself violate the First Amendment. Bantam Books, Inc. v. Sullivan,
   372 U.S. 58, 67 (1963).

                 3.      Jackson Satisfies the Workplace-Speech Standard, Even if
                         Garcetti Applied, which It Does Not
       Even if Defendants’ customary workplace-speech cases applied, which they do
   not, Jackson can still show “adverse employment action.” UNT forcibly removed him
   from the Journal, where he served as a founding member since 2005. 2d Jackson
   Affidavit, ¶¶ 2, 7. This was clearly a demotion, even if he has kept his job. Id. Com-

   pare Breaux v. City of Garland, 205 F.3d 150, 157 (5th Cir. 2000) (defining
   “[a]dverse employment actions are discharges, demotions, refusals to hire, refusals to
   promote, and reprimands”). It was also the direct outcome and the desired result of
   the defamatory campaign against Jackson, which UNT endorsed, for alleged “partic-
   ularly racist” actions. Complaint (ECF No. 1) at ¶¶ 52–57. As the State’s Motion
   concedes, Jackson’s supposed “actions” consisted of nothing more than publishing
   unpalatable opinions. Id. The inevitable result was the Journal’s hostile takeover and
   Jackson’s ejection from its editorial board. Complaint (ECF No. 1) at ¶ 61; 2d Jack-
   son Aff., ¶¶ 3–7.

                 4.      The Balance of Interests Favors Jackson
       Finally, the last prong of the test is easily satisfied, which requires the Court to
   “‘balance . . . the interests of the [professor], as a citizen, in commenting upon matters
   of public concern and the interest of the State, as an employer, in promoting the
   efficiency of the public services it performs through its employees.’” 2021 WL
   1149377, *11 (quoting Pickering, 391 U.S. at 568).
       Jackson’s interests are particularly strong because “the First Amendment . . . does
   not tolerate laws that cast a pall of orthodoxy over the classroom.” Keyishian, 385
   U.S. at 603. However much Timothy Jackson’s viewpoints may hurt his colleagues’
   feelings, the “proudest boast of our free speech jurisprudence is that we protect the



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   freedom to express ‘the thought that we hate.’” Matal v. Tam, 137 S. Ct. 1744, 1764
   (2017) (quoting United States v. Schwimmer, 279 U.S. 644, 655 (1929)).
       In addition, students also have an interest in hearing contrary views. See Sweezy,
   354 U.S. at 250 (“Teachers and students must always remain free to inquire, to study

   and to evaluate, [and] to gain new maturity and understanding”). Jackson has already
   brought forward evidence of the pressure placed upon his students and others to
   knuckle under UNT’s estate-sponsored orthodoxy. See, e.g., Complaint Ex. 14 (ECF
   No. 1-14).

       By contrast, UNT has little to no interest in censorship and the hostile takeover
   of the Journal. There is no administrative efficiency served by UNT’s actions. To the
   contrary, the Journal’s publication has been suspended so that UNT may demote and
   punish Jackson for refusing to tow the line. See Complaint Ex. 22 (ECF No. 1-22);
   2d Jackson Affidavit, ¶ 6 and Ex. B. Furthermore, not even UNT’s pretextual Report
   faults the quality of scholarship in the Symposium (or any other volume of the Jour-
   nal). Cf. Complaint Ex. 5 (ECF No. 1-5).
       The Journal and Jackson’s scholarship has brought renown to UNT and repre-
   sents Jackson’s life’s work. Yet UNT’s only articulated interest is to impose never-
   before-asserted standards of “publication ethics,” post hoc, in the name of “combating
   racism.” In fact, in 2017 and 2018 the Journal published a Festschrift,8 without peer
   review (Volume 9–10). First Affidavit, ¶ 58. No one at UNT lost sleep over it. No
   social media mob nor the University of North Texas Press cried “editorial miscon-
   duct.” Id. This was because, obviously, the Festschrift, like other symposia, was and is
   a normal part of scholarship. But Jackson had not (yet) committed any thought
   crimes. First Affidavit, ¶ 58. Indeed, not even the “Ad Hoc Panel” expressed dyspep-
   sia over the Festschrift’s “publication ethics.” Complaint Ex. 5 (ECF No. 1-5).


   8. A special symposium to honor a senior scholar.


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         UNT also wishes to outlaw anonymous publications. But there is no administra-
   tive justification for this either. Even the “Ad Hoc Panel” acknowledges that anony-
   mous publications do not contravene established editorial practices.9 See Complaint
   Ex. 5 (ECF No. 1-5) at 8.

         These are all pretext for UNT’s suppression of Timothy Jackson for “platform-
   ing” (as they construe speech) improper viewpoints. The State papers over this cen-
   sorship by invoking the need to discipline and punish “managerial flaws and editorial
   shortcomings.” Complaint (ECF No. 1) at ¶ 63; 1st Affidavit of Timothy Jackson,

   ¶¶ 5, 38, 72-73, 118, 120; compare Mot. to Dismiss (ECF No. 8) at 7. UNT’s pretext
   does not justify overriding Supreme Court and Fifth Circuit law to apply the work-
   place speech doctrine to overt academic censorship.

   IV.     The Court Has Supplemental                    Jurisdiction       Over     The
           Defamation Claims
         The Court has supplemental jurisdiction over the defamation claims so long as
   they arise out of a “common nucleus of operative fact” with the First Amendment
   claims. See 28 U.S.C. § 1367(a); United Mine Workers of America v. Gibbs, 383 U.S.
   715, 725 (1966). All of these claims arise from the same nucleus of operative facts:
   Professor Jackson’s criticisms of Philip Ewell and the social-media mob that emerged
   in response to these criticisms. That is what triggered the “Ad Hoc Panel” report and
   the retaliatory actions taken by the university. See Complaint (ECF No. 1) at ¶¶ 52–
   61. And that is also what triggered the defamatory utterances from would-be activist
   students and colleagues. See id. This is what the complaint has alleged, and its allega-
   tions must be assumed true at the motion-to-dismiss stage. See Manhattan Commu-
   nity Access Corp., 139 S. Ct. at 1927.

   9. UNT’s pretextual panel opining that “anonymous contributions . . . are not un-
      precedented in academic journal publishing.” Complaint Ex. 5 (ECF No. 1-5) at
      8.




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       The defendants observe that the defamation claims are brought against “different
   defendants” than the constitutional claims.10 But that has nothing to do with whether
   those claims arise from a “common nucleus of operative fact.” Section 1367(a)11 ex-
   tends the Court’s supplemental jurisdiction to the maximum extent permitted by Ar-

   ticle III, and it overruled previous cases that had frowned on the notion of pendent-
   party jurisdiction. See, e.g., Aldinger v. Howard, 427 U.S. 1 (1976), overruled in part
   by 28 U.S.C. § 1367(a). Section 1367(b) provides a statutory carveout for pendent-
   party jurisdiction, but that carveout applies only when original jurisdiction is founded

   solely on 28 U.S.C. § 1332, which is not this case. See 28 U.S.C. § 1367(b). The
   defendants also observe that the First Amendment violations and defamatory utter-
   ances occurred on different dates, but the claims still arise out of the same nucleus of
   operative facts — even though the claims themselves implicate differing sets of facts
   (as all distinct claims do). All of the retaliatory and defamatory actions taken against
   Professor Jackson arose out of his publication of a symposium that criticized Philip
   Ewell, and that is all that is needed to establish supplemental jurisdiction under the
   “common nucleus of operative fact” test.
       The defendants also suggest that the Court should decline supplemental jurisdic-
   tion under 28 U.S.C. § 1367(c)(2) because (in their view) the state-law defamation
   claims “substantially predominate” over the First Amendment retaliation claims. See
   Mot. to Dismiss (ECF No. 8) at 22–23. This claim is baseless. The First Amendment



   10. See Mot. to Dismiss (ECF No. 8) at 22.
   11. 28 U.S.C. 1367(a) states in relevant part: “. . . In any civil action of which the
       district courts have original jurisdiction, the district courts shall apply, and the have
       supplemental jurisdiction over all other claims that are so related to claims in the
       action within such original jurisdiction that they form part of the same case or
       controversy under Article III of the United States Constitution. Such supple-
       mental jurisdiction shall include claims that involve the joinder or intervention of
       additional parties.”




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   retaliation claims are as substantial and as likely to “predominate” as the defamation
   claims, and the defendants present no reason for thinking the defamation claims will
   predominate other than observing that there are 18 defamation defendants. But they
   have all been sued for publishing the same statements, so the mere number of defend-

   ants does nothing to imply that the defamation claims will “substantially predomi-
   nate” if they are litigated alongside the First Amendment retaliation claims.

   V.     Calling Someone A “Racist” Is Not A Constitutionally
          Protected Statement Of Opinion In Texas
        Texas law is clear that baseless accusations of “racism” are actionable. For example,
   in Freedom Newspapers v. Cantu, 126 S.W.3d 185 (Tex. App. — Corpus Christi Edin-
   burgh 2003), the Sheriff of Cameron County sued the Brownsville Herald, its editor,
   and a reporter over a mischaracterization of the Sheriff’s comments in a political de-
   bate. The Sheriff “testified that he was humiliated, and that he was frequently referred
   to as the ‘racist’ sheriff.” Id. at 195. The trial court denied summary judgment to the
   newspaper. The court of appeals affirmed. See also Baker v. Orange Panda, LLC, No.
   04-19-00846-CV, 2020 WL 6293150, at *9 (Tex. App. — San Antonio, Oct. 28,
   2020) (“[S]tatement[] that ‘Webb is . . . a racist’ constitute[s] defamation per quod”);
   City of Brownsville v. Pena, 716 S.W.2d 677, 681 (Tex. App. — Corpus Christi Edin-
   burgh 1986) (finding labeling someone “racist” defamatory), rev’d on other grounds,
   Davis v. City of San Antonio, 752 S.W.2d 518 (Tex. 1988).
        Furthermore, false statements that someone’s actions or behaviors “are particu-
   larly racist” are actionable in any state. See e.g., Como v. Riley, 731 N.Y.S.2d 731 (N.Y.
   App. Div. 2001) (holding publication that plaintiff engaged in a “racist” act was false,
   and therefore “defendants’ views premised on such statement, published under the
   heading ‘Racism,’ are not immune from redress for defamation as non-actionable
   statements of opinion”). Here, the Defamation Defendants falsely and knowingly at-
   tributed “racist” actions to Timothy Jackson. Statements that a defamed person has



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   “done things . . . [a]re verifiable.” Miller v. Watkins, 2021 Tex. App. LEXIS 1879, at
   *27 (affirming trial court’s finding of prima facie case for defamation).
       The Defamation Defendants cannot hide behind a traditional opinion defense.
   They published statements that Timothy Jackson engaged in racist “action,” engaged

   in “ad hominem” and “personal attacks directed at Dr. Ewell” (which the Symposium
   objectively did not), and refused to invite Professor Ewell to contribute to the Sym-
   posium, among other statements subject to objective disproof. Compare Mot. to Dis-
   miss (ECF No. 8) at 7–8.

       Furthermore, the allegations of the complaint are sufficient to support a finding
   that the defamation defendants acted with actual malice, rather than mere negligence.
   For example, defamation defendants Diego Cubero, Ellen Bakulina, Benjamin Graf,
   and Andrew Chung all worked on the Call for Papers sent to everyone in the Society
   for Music Theory to solicit papers for the Symposium. The recipients undisputedly
   included Ewell; but these defendants then turned around and condemned Timothy
   Jackson as “racist” for not “inviting” Ewell. See e.g., Complaint Ex. 3 (ECF No. 1-3
   at JACKSON000073 (Defendant Chung enthusing, “I think it’s great that [the Jour-
   nal] is looking to engage Ewell’s . . . talk”). Compare Thorpe v. Alsaeed, NO. 01-99-
   00549-CV, 2000 Tex. App. LEXIS 3085, at *21 (Tex. App. May 11, 2000) (“In the
   defamation context, a statement is made with actual malice when it is made with
   knowledge that it is false, or with reckless disregard to whether it is false”).
       The Court should reject the defendants’ argument that Texas defamation law
   does not apply to baseless, knowingly false claims identifying non-existent actions and
   behaviors of Timothy Jackson as “racist.”

                                      CONCLUSION
       The defendants’ motion to dismiss should be denied.




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                                             Respectfully submitted.

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                          CERTIFICATE OF SERVICE
       I certify that on April 12, 2021, I served this document through CM/ECF upon:

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